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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA .

CHAPTER 13 PLAN (ndi ividnal ‘Adjustment of Debis)

 

 

 

 

ja) Original Plan “
ey \ my Ne Amended Plan (Indicate Ist, 2nd. ete. Amended, if applicable)
| Modified Plan (Indicate Ist, 2nd, etc. Modified. if applicable)
DEBTOR: Carolyn Ruiz JOINT DEBTOR: CASE NO. 19-20404-RAM __
SS#: xxxexx- 1627 SS#) NXN-NX+
1. ‘ NOTICES
To Debtors: Plans that do riot comply with local rules and judicial rulings may not be confirmable, All plans, amended plans
and modified plans shall be served upon all creditors and a certificate of service. filed with the Clerk pursuant to

Lacal Rules 2062-1 (C\(3), 3015-1(B¥2). and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIIL. Debtor(s) must check one
box on each line listed below in this section to state whether the plan ineludes any of the folowing:

 

 

 

 

 

The valuation of a secured claim, set out in Section Il, which may result in a fi] Included C) Not included
partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpassessory, nonpurchase-money security interest, set [] Included [il] Not included
out in Section HIT

Nonstandard provisions, set out in Section VII] L_] Included [m Not included

 

Hi PLAN PAYMENTS, LENGTH OF PLAN AND DEBTORIS) ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustce does not retain the full 10%, any unused
amount will be paid te unsecured nonpridrity creditors pro-rata under the plan:

 

1. $235.23 for months 1 to 60;
B. DEBTOR(S)' ATTORNEY'S FEE: C]NONE [C1] PRO BONO
Total Fees: $4174.00 Total Paid: $690.00 Balance Dus: $3485.00
Payable $69.70 ‘month (Months 1 to 30) -
[Allowed fees under LR 2016-1(B¥2) are itemized below: ’

$3500 Attorneys Fees + $525 Motion to Modify + $150 Cost = $4175

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
lt TREATMENT OF SECURED CLAIMS

A. SECURED CLAIMS: [ig] NONE

{Retain Liens pursuant to 11 U.S.C. § £325 (a\(3)] Mortgage(s)/Lien on Real or Personal Property:

B. VALUATION OF COLLATERAL: [7] NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT INDI CATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
YOU PURSUANT TO BR 7004 AND LR 3015-2. .

i. REAL PROPERTY: [ff] NONE
2. VEHICLES(S): [[] NONE

 

 

 

 

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Debtor(s): Carolyn Ruiz

Case number: 19-20404-RAM

 

 

1. Creditor: Capital One Auto Finance

Address; POB 4360
Houston, TX 77210

 

Last 4 Digits of Account No.: 8282

VIN: 4T1B1FIFK9DU293462

 

Description of Collateral:
2013 Toyota Camry

 

Check one below:

facia incurred 910 days or more pre-
petition

cain incurred less than 910 days pre-
petition

 

Value of Collateral:

Amount of Creditor’s Lien:

Interest Rate:

6.50%

__ $7,000.00 _
__ $13,502,00_

 

Payment

Total paid in plan: $8,217.78

$136.96 _/month (Months _1 to 60) |

 

3. PERSONAL PROPERTY: [a] NONE

C. LIEN AVOIDANCE [ii] NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.

{w] NONE

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relicf in this section shall not reccive a distribution

fom the Chapter 13 Trustee.
{[™ NONE

TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE: (®] NONE

B. INTERNAL REVENUE SERVICE: [lf] NONE

C. DOMESTIC SUPPORT OBLIGATION(S): [ll] NONE

D. OTHER: [8] NONE

TREATMENT OF UNSECURED NONPRIORITY CREDITORS
/month (Months _ 1

$5.05
$74.75

A. Pay
Pay

to 50_)

/month (Months 51 to 60 )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. [[] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.

C. SEPARATELY CLASSIFIED: [| NONE
*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority

creditors pursuant to 11 U.S.C. § 1322,
RACTS AND UNEXPIRED LEAS

EXECUTOR

section shall not receive a distribution from the Chapter 13 Trustee. ©

[i] NONE

IN ND REF : [] NONE

[i] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtar(s) comply with 521(f} 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that-the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

NON-STANDARD PLAN PROVISIONS [mw] NONE

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S: Secured claims filed by any creditor/lessor granted stay relief in this

 
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Debtor(s): Carolyn Ruiz Case number: 19-20404-RAM

 

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

thd & Debtor /99/15. Joint Debtor

Cardlyn Ruiz Date Date

 

Attorney with permission to sign on Date
Debtor(s)’ behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VIIT.

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